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                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Dolleme 200PCS 10mm Smiley Face Beads,Acrylic Round Happy Face Loose Spacer Beads Colorful Smiley Face Charms for DIY Jewelry Bracelet Hair Accessories Earring Necklace Craft Supplies

   URL
   https://www.amazon.com/Dolleme-Colorful-Bracelet-Accessories-Necklace/dp/B097BN4BZG/ref=sr_1_39

   Collection Date
   Wed, 14 Jun 2023 10:59:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ojsEcLkolbdZIn5zi3RpdNPeQv2N5nASz8uxzGUXq8NayTFUfWwlispS6J1hs6LntU+Idxh1icHEqEeeivJ2/Zvuz4A+xQ0A+sBDV488KZD1+9PN/SHxnDgQFPGR3WQYH7PmFMFdHZ7opcT+ldEmrt3YSJ5z738m8SORXGHV7PA=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Dolleme-Colorful-Bracelet-Accessories-Necklace[fs]dp[fs]B097BN4BZG[fs]ref=sr_1_39]]_Wed,-14-Jun-2023-10-59-27-GMT.pdf

   Hash (SHA256)
   043b0d0be7e1a66ee5f1fe8ebedae838832ff5f73c08de0d54bc6e9268bc6646

   Signature (PKCS#1v1.5)
IcOE4yLHOVhJGNEqg97dl7bmbKp1ST64JKw7n4dZPMksZXEu9rpDLifiuYXm9mkXQH4erR+YCiyC5AI8UzU+YgfFl1knWjJAGdL66K8xkzDgxqV/xl160Q5AlJikoVyZD35eHLsMApm8M904j+whnBIRjclr51zECMuW7UVWcgw=
                                                                                 Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 06:45:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ii53zko4hnFpihdfZO1jAGXm1U6WRluJHFdeL/oQOP3KNmhbhdro3ejr90MjGY7MwqfLiud6koeVQFd+NCixcYwDHMoPBDZv1s9xgeQQFP4wEtRHuUvKQnX2eKdhMm14GHGiCAlE/hyVO+gDx99+ihXUi7OQOGwdSTzbg0DuZXOCOLFXatWDOv7emvAwk8tgZdcWxbBOrOFpLMXZ2NxrlkL
   +rTtBMFb6rrWG3aEYLj1N8uN1BOMDx2L7HNzeLv9E/R9MFcUGQTQrZZLp4aiGT/0AsfX8XfzEMuhiJ4SSHUhI8pTgcE+DDkfbjCVQ6YpECJEMEY8fxewsjSs1q7xyVg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-06-45-39-GMT.mhtml

   Hash (SHA256)
   67f245bf4f3038dd940b0501f733a42fd75765bc16b39329eba76dca30084355

   Signature (PKCS#1v1.5)
PWn0TGZ4HzbGM9WDzF/Xdcr4CtGz+pnBBVQazVqs/b/ZZjXG8NP7SmsiFfwX2YNoHqRobuvrOWFeTnr4YxcdsystNz1SS/gHy19md1JsEeU6IHR4mYPB66wMX1fDgEqDzVL8QFa0k5A6GkVpgZPyFLjPISuSu+WRttMVS8Ryjq2iSaHon3B5QJHro+yljIylIx2Y19CDWN60ttsstveWT/
ms8pBRefMa7U8LFaJmzusX0yeDX/0uH8FNisy9Cx/C2lkqFxdHm2qeFqkqWvlC/9nOo/8JbnPP+4zZzfJoge/aDxP6umt5ueIL6EoudklYQlAg10kI8eZc1bqtSSBmqw==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : DONGGANGAJI Lanyard with Zip Id Case (Sunflower Smiley) : Office Products

   URL
   https://www.amazon.com/DONGGANGAJI-Lanyard-Case-Sunflower-Smiley/dp/B09W59P3KW/ref=sr_1_153

   Collection Date
   Wed, 26 Apr 2023 09:19:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bpvDJKW6YYqr8a9ScUCIqBU7V5M4pMahcMMlI/frbgEKnkXvvWPbIAxaZputFeK6Nj2MQX0njjdcyEA2fPdCQ3vhHjh2QbIBSdIcaQQfyFFAoZVbetrfGy06DKo0J5eWC4BOa1EI7RX7Yyq9s9/aXnK3VD/BY5H5yy446sqy9oo=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DONGGANGAJI-Lanyard-Case-Sunflower-Smiley[fs]dp[fs]B09W59P3KW[fs]ref=sr_1_153]]_Wed,-26-Apr-2023-09-19-37-GMT.pdf

   Hash (SHA256)
   fb0096d0aa8426572660db6ab7a199de021bca1adcb2017cfef416768642a356

   Signature (PKCS#1v1.5)
WSI6p4GVnJXjy6O0Zw7Ykm3SX9ch87JA4t5H9eGm1yh2eRVYMiXyx5S81PyM6gXSJKAdF/VNfoX0c4FLTDB1YeIRsLlTmia6eZlHDhXaDL1wBiK/iKyLwZVhDyWPdU/QAfxLVIaET705RfoiaGSXWe7k2FKhNYoFTTwWbcfObK0=
                                                                                 Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 03 Jun 2023 00:02:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.78

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GbCDkAI44dwQFVdr4HawmFftvyKYmk+ekmqJIzhgA3xoaCwm0LCGSWZWei0/cxw6447xCw40zYaJbbweEs/N8SlKvdroLowYNOdwJvdVk9Fcdu2xhPiY7YkKM+rS28GK7mhI9P7vXGwzzqXt/MtxpZA2IkPy0V2R0W18kwK3A3gAWJX0tqAb9EOn0uXfmBfjavHjBRmo1NXOgSp0ku
   +eFntCOiQvx2LLSoBmt8xxlcaf42xZnVGZCSnPvB2HSgsJmAHzhOHZr3/F9Hh6C1IRSXt+HGArgjHwuATf7VeA/L+1n353ZmXE39U79FQE8Aqj9TfTVwYdFKzKt1s2RYBhvA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-03-Jun-2023-00-02-54-GMT.mhtml

   Hash (SHA256)
   a0d3c283ed0b085a7670657a23770d83bfdae9771ae22e96875416f50cd7072e

   Signature (PKCS#1v1.5)
RboYI0deJRfgY7vmDOFem6q7V78dcm9X987JhoGpgCeUx8laISJ0ieobjUlI+Ed8SnS/y80YQClf80GAh7oIoRlEXte+UwJ124i9+rkgn+p8RpyOHA3jaIuHjcNA5PbwDXP5iBQCQ54A6mt/E5ZSb28wAqVTn9ZqCPXXcQvqmALDm/fiADAfwYR2n831ZCBOA5HkVCoLcqdWA3Z
+UVVHyLfRqd7TiEdUOJ9VU5VAnvOgNQfQ8z4IUiu/8HYZGXNvvIUKhHkqAaLFUqQgtrA7y/udfVR3MbkN1afQqBgG2HcoVZtDC1/Z6SvQvaBiFOk6/V8KDUCGxiRRh1rhfairzg==
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                                               Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: zcyxuuw Waterproof Makeup Bag Cosmetic Travel Bag Toiletry Bag for Women Hippie Retro Flower Rainbow Smiley Face Decor Colorful Flowers Hippie Accessories for Women Wedding Birthday Anniversary : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Waterproof-Cosmetic-Toiletry-Accessories-Anniversary/dp/B0BG24Q46M/ref=sr_1_140

   Collection Date
   Thu, 20 Apr 2023 11:39:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FvVGDZpJI7aBos9KLGZFRk2hifvhY9eanIDwoNCoR7aI1NmGwkGz9ywnSfOo1HnA/i6VLgtmogEi6lheEx5L63PjZQrOvgOvRzu3mzlFb5EB5BA9BKBuwogqyB7EJNSrAeym9ra2XSZdKy+x9XjTtuWi4CPOcGCgK8AgrCC6BLs=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Waterproof-Cosmetic-Toiletry-Accessories-Anniversary[fs]dp[fs]B0BG24Q46M[fs]ref=sr_1_140]]_Thu,-20-Apr-2023-11-39-57-GMT.pdf

   Hash (SHA256)
   46831e45ac469ab1223dcd093ebdb7325ab44b95a7c2656bf8430df42d6ece1c

   Signature (PKCS#1v1.5)
h6q2XLKgTt3NNm7Zfkefirq/GFgaTxijdk2j/RhdKHCzbqPmGh2WJBF2YNetLsNaqKZfP6nmwKf6EjBtc5218bPCbzXOKhAA8AseG5THFdGz8kXV00ZpZxUe+M5MW2chlzt1KsfTrpqF+OcXffoMIcLOOrprGjfdpIzSkD5H250=
                                                                                  Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 23:24:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RPJpWoPlFZHVZQqLbrtpHdapRcTur/rqo1V+B5rK65X74e/bLX/ieLAPL/v9gBWp3oSpHqLt4PZwwY7SgwNZi5VDtlvFrzyH/kRgPHcNl0ZO4HylGEzlGsn7ynM9xohP89r4vrYx8EonEnLBKovMHmLSMTqdJpJ5BCudVhgcufwCq17PJ3pwMlUXR3E1U/jW8NYZfEi+246NamA16xKnP0Hxar
   +BnbNa5jdlOiEQPHn8kw3hI6GiL4L9UZ+W+BjSrMMBCB/aa+qgNkBE3ic0H/xDETWTwKUxFE1m1FeMmXiF2SPqPkmwRjDJotqahJjNh+eZtRxeLPqvVlvCe6sEVg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-23-24-25-GMT.mhtml

   Hash (SHA256)
   afb21969d3a277f4636e9570e27792e6456c6c626c7e37fc61303d5ed528e6fe

   Signature (PKCS#1v1.5)
Z49gZB3aIWsP+MsDPEldHPk2h198YjDKVPCJ89J7f3GmT3j6S3HEAB9loI2rraIqK1+h6Zq8Srp8ex3jpLRGMCnh2KkUqMpbTZCZR4EIZlH5N9Z6lEo4SXqT5kDXDtaTQC/w7N+N3aGJgY1TGzG17XU4npPxDRR
+0IkMDL7keWOfETBLhaVUBBk4yEjQOkq04WUjPS2OyHUhWbg3r65LycZugT12KREzlkaIlSTipiWaE1GT9dG0Eia7PJT84blwJUrMMX1MRSzjzHBNGwOc5PKy09TqjGaEYPYeIbhoo4cAMRRovUAdc267Yh/c6Lf2tRaM39ok166moJkGRwhlFA==
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: DORAFO Smiley Necklace Earrings Set, 14K Gold Plated Cute Smiley Face Jewelry Set, White Happy Face Necklace for Women and Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/DORAFO-Earring-Necklace-Jewelry-Hypoallergenic/dp/B09DK8WX7K/ref=sr_1_92

   Collection Date
   Wed, 19 Apr 2023 11:55:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Pw3UVaZ89dOeu6NOFa/suq6VnyMLLCIQn/Zd2FEealkUlokL8ViGzipEx0lyxC6HsKrvH8WT4571AEtS7JlcBvteg0GjBezeokOc35nRGUFiWTlGNSJnlgadippe0QHDa/q8003vaqKKNX7/8aaPcYirhtPEybWO/Nx9qG1+Lh0=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DORAFO-Earring-Necklace-Jewelry-Hypoallergenic[fs]dp[fs]B09DK8WX7K[fs]ref=sr_1_92]]_Wed,-19-Apr-2023-11-55-42-GMT.pdf

   Hash (SHA256)
   94dd808a2b480aef93ee0b1b2d4dc937e8ced0c4176e8f24b351d4a4b0106f62

   Signature (PKCS#1v1.5)
XOS5gDvl95Yu4IrKjCsiN0l0G6rWDOocC0tdvxlWF0dQeEwdC7GkJPJNmbl+y7FQSH1i1F5vls/WCsKENtQW1ZEAoLP8DC5lfYPZGT42OtQbgk/U5t+vlBpJ+YlmuVhEDBAs2EF33hVSzj0WYzVMWNgtoD8GAn4yGwTRRmo1kQA=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 07:20:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ImsRzVm2DPjCILbjsl9bZZ4m3+35/HQ8AtQgewIebXDEWPOZ+WU/hOUSdrn2T1fHjLo0dNjE3Rtl2DqAEItIeGf7V+k2EWJxPtdqw7Sd1Wdu9H+SyIYOggH3cFjdXkozaI32i5QtzEhsp3g02Avde4Uju85Q8HhGaYI42CgaJdM6X9zSOdh85Qqr4kZ3tYELsKM/
   SVpWS5mG8f/53RtkiXudBE2a0wXQIj94fMzw2YOs+5IIeZsSj7sofQbZj4QrcNQbbJ+skDQWseHhvfUxMtHI+PR31iTbrE4FI0yV8oPv4BOYJhjmAvi2or5kNJkh02Vq2t87wReyGrDF9Rp5SQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-07-20-31-GMT.mhtml

   Hash (SHA256)
   32282589f9cf534a50c15100e6729f8ceeef3b9d1ae701477f322ad123526941

   Signature (PKCS#1v1.5)
Wmosm/P0JIn3PomAoKIiLa3Mfjq321n3nai/d5ieB0mhqZlxHCnH/x5j/9cbhHXPSWLh1E0kYmvz85YuiOO5QbAhkaTQLmRsL1El+I0Glmf1GnHZ72MYzt1OFlUjYasbuIQQjhXFT/WKvQHtwJygTeYdY/6wlqWJpaIQxGsREY/RIcHJxU7fx4GXENlFAwhFAA0x+2K+JMtYxldnt3rGyJ5++DHEKGp/
vMHSsSsC4hbo0lVtlRPJusQWiktK4MyBhfrF/2mk0tJL6bPf+SeQae6onpzX/iOnqLIV6j5fyHlYHjr8saHIqVmQA7oAkvldUZnoNaDei2KVWJsd7CIi5A==
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: DREMISI 12pcs Smiley Face Patches Sunflower Smiley Face Patches Colorful Happy Smile Face Embroidered Clothing Applique Iron on Patches for DIY Decoration on T-Shirt Bags Jeans Backpack Hoodies : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Dremisi-Sunflower-Colorful-Embroidered-Decoration/dp/B09FKYXW92/ref=sr_1_33_sspa

   Collection Date
   Wed, 26 Apr 2023 07:25:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qG7pyf5+Gzd5X+JU/6VH7ovii0gIBCDFpyAblIe2CPaNxqN0g7GMnFB0/NXOPU2e2qfr3Fftd6SvgotAqgkWCqCekYYRm2AeytTtv8Y93zn7LSQQtecpdglPIaKZQQPk48nj8kJ/t2C3lMitrawsM/BCAdBygjjw4nO42At9oS4=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Dremisi-Sunflower-Colorful-Embroidered-Decoration[fs]dp[fs]B09FKYXW92[fs]ref=sr_1_33_sspa]]_Wed,-26-Apr-2023-07-25-31-GMT.pdf

   Hash (SHA256)
   fbad039b8efde3b7c7fac30f377c48fb43aa5237c2408ba81357d8d7987dcc9e

   Signature (PKCS#1v1.5)
ZdPcjpOW1NP6AmW5CwJSMUMY+IC++3643nLZZKZIybVeplKlo1FUhWW3h6rV1mJGYrDs2YwOM5NRVv0jXEInLS8mxOUnYw1hC8Yon8a+QhbqJsgnYyYbHbRBfukn8HJbQIIgskX+aN7j/2oCFTpdAwoFbSAN+N0o6FLUX4aP9Y8=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 05:35:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OsEjl0jxN7olDGpC1PJRKCDFP/pK50+zNQCI0ZxEiC/dAUehIAin3EDjeoatkZQ98inOcno+Wf6nfAtWxdR1mYP8VN8RVKBGkokGW3oy8IdEsMBYU08STD8e+ADpKamV7AEdNxMImLysS3aQDEH3wzLao5U/
   nyIAtsuDVFZq1usREH9R8kIDk984H08RgJylsFoAWTXprA6pfasToQ9ANEgZVcCgJfFZqRtE7XIgdh/MTCSW8yPGBjQZgtwuULxWyheINFOpYPSby/URqGRI2XEIMDjtt70ciN6Psc7DZqPglsiP7ZlNWKVrMYrHpSvX4WbDLzNX6CtfXyPxpHJ8Xw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-05-35-20-GMT.mhtml

   Hash (SHA256)
   e5a4e6d4a602ce9fea7f4cad4ff61f9d1419859518c6297c8885019963534b88

   Signature (PKCS#1v1.5)
FBhhDRDVyTvxXbGninSh8IXRkFb67Az5TXJVFSON2WkUFUkhUvriKZUGbRxWBq2OuAwknT/xPC9C62zaSN44kcWp4xxOZRfIzdrTxc2QSIbk0bK5ku4Z52z+EGRFdggGz0XwFfkA7RcA9PwP7No5sa+qv1g9pHSMQ9V8EZnbhg+0x2PcZCFgP7E7NJBwBS9YIyM7a5SwBHMr7BbPRc/q
+DYlcVH6PWBUJeRf7IKFa2QSgfTtG9shb9gQ40kaMZlgju5WC5tZP/TKnfa7L2U+ExhhqQ6uD1K8fSx/e8J3REdqODWF+LkhYtAON7SK3H4IsJG3WdDvVH6v49OPe36k3A==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Dreuyet Boho Smiley Layered Beaded Pearl Strand Necklaces for Women Girls Rainbow Colour Star Fruits Flowers Heart Smile Face Happy Beads Pearl Stackable Collar Necklace Handmade Summer Beach Jewelry Gift (Red Heart): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Dreuyet-Necklaces-Stackable-Necklace-Handmade/dp/B0BDK87M9X/ref=sr_1_79

   Collection Date
   Mon, 24 Apr 2023 05:13:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Oa0DKRVPecR/4kKRXZYplFzem2vr8B5tS4Rfa9CBRHAjxW9VchOOl9KKBMHeD4uR6dJ7PVYu6J4pyp8bHZDJAHJG0ZEV0QBbVr1ixONxI9wBkeB2RrkRQUVlUvmr57prMdE5FY2yN0LeWjLY7C5G+kXHMdS89g5yaa31kBsyF+I=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Dreuyet-Necklaces-Stackable-Necklace-Handmade[fs]dp[fs]B0BDK87M9X[fs]ref=sr_1_79]]_Mon,-24-Apr-2023-05-13-07-GMT.pdf

   Hash (SHA256)
   f47a780c407fd776f82cd8e30a784fde23c3b538a25c35ed8d93a29378acae90

   Signature (PKCS#1v1.5)
Br0RGPakH7xP6VsO6QT/Ma6UMyfSZ/L0phpPZpe8jaXX70GIyf12UNx75izrrGpv2Q6jeH13LFISh72AlmV5G4RvtU8Hlh9C8bQn6sIKD/XesvCXNCjxtMBwPd28m/6MhAOOb7DYJ2SLbCjTsMzZdELTamA7KsU6mRXSzF47zxs=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 13:39:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TZFLjzYoozSAysNZ00ykbnVbbG4aRdNzENqTksAVRdwx/2zGr21C1tFd9WZvz9cBhHYjFHcrGmYCa9wfK+3SA93K5283idO2fEZ75Oh7DCi9Ordy7Cm/WrZQYhhnZO+npBZ9QaZd1mvxjhmxdVrzNdfL6XlFeinSWF9vAeT5xv/2EPO8ZldcFp/6b
   +xJ77MnL7g8kCBD6lzHE11ko2lj6jYOs3kkBgQRi/DAwqN//KrYlpM0iyUECy5CWMFez+XOPGSiEXC7uadwksuT2qRCC7j48zgpagSH45x+EDBdd3L0cJQ67WQ9DjIYsT4IiDSUOpCZ3aRmBTSnxFTV5o+f6A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-13-39-04-GMT.mhtml

   Hash (SHA256)
   23912d7fadcf086bc0e768f57b2d9615c86610fbf77b9122093584fdc8ad4d2d

   Signature (PKCS#1v1.5)
larrkkZzJsdO4TyBTlgeFlLzBhrecoGwJdi8hp3AHGMsS3zdJlywwza5UXAWxID3YNsp62zjwD+Mx460heCqut2x6Mfec8bJT1pGywMfs2I41W+4MfPJaPvvhfc9LwEI2LCtXCDXxF5eWO18sIV7rixY+pqBLDJatPmKweqQR2OpyJYqAd9gUeFrkbCdhInYfXFwlxFK8QuT45mmWQsC/
nV4M0bx8V3cXDYkMj3e+Xu3fOgKPjcMiJ733n6bhhgejgnLVTWqDy7KCR7v9isAmHqKuBifejz75ueXu+tsoXrZ2L9LCC8zaYjeLVgYZsFhQ70a6EfvYNI0uGVtu1M1cA==
                                                                                 Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: DSDFIDn 2 Pack Cosmetic Bag for Women Girls Travel Toiletry Organzation Bag Birthday Gift Smiley Printed Smile : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/DSDFIDn-Cosmetic-Toiletry-Organzation-Birthday/dp/B0BX318Z7F/ref=sr_1_197

   Collection Date
   Fri, 21 Apr 2023 04:53:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f9SFSAndYsVuyM9thFGUL+0AUNM/NJ6Y08wOznUeoESs3gj0CWdTlIzxtVOk3q0cCMkCnGO2phKYlpkGH9PGq3ebwqNHSRJJ/UNxxTVjspUhNPiacwC0eraavluHk33/Od6Rc4Xci2kr2eHHAE/c+gWfjPWDPGDJrs5rA/rIIJ8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DSDFIDn-Cosmetic-Toiletry-Organzation-Birthday[fs]dp[fs]B0BX318Z7F[fs]ref=sr_1_197]]_Fri,-21-Apr-2023-04-53-14-GMT.pdf

   Hash (SHA256)
   5a74def91cb7516c4d42f90dfbf0f66756fced86df7608487a2c31e693a95873

   Signature (PKCS#1v1.5)
iHm+tp+m+gicLnk+HfuOzMDE7waF2QBAauss/7G9HpAJj2vVEUGAS20pstJ152USQlv5koudzkGVAu+UeWoXRZt2qnJnxb1hAmaTcDf1VW77Pt9kYy+5KFY0x5er6e09lepHoJgrmY31766jn4smXsnraT5G2Eo3X+9w1HgBdEw=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 04:49:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   I0qVj5kv6Og11sj19CMRENaTjX7udTYkPFHFsIYaBJgIHaQsI53lWfMhvWgq40UlazhlE6Gi2zh+1nuJiH17J/BSNLr1xrCXz1MurAY27vA2AW3sOsaFG+jsP1+afqzp5Nt77/rBvWjSLmQ4G9iaOaYUMgw+ndgfIEz3Mja0jtQKpPaSXO6fGsfSyZJqpPCjnEH0Y+E3EGJ/
   rmVpYGNAcvSpSIdDPFso15tX8SUA7fdLh1cnsUNtjO59URGNCGZtPeq5FzibcqARUmSNdcTplJvKS4PbWeLDih8o2/vYRl0RB+IWDvXs4Q8d3m42lQESQy8HdfCdQ1jNFFDnbSxSOQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-04-49-22-GMT.mhtml

   Hash (SHA256)
   3e8db7a02ffcf2406aadb21955dee7e1554fef5d08aa1ded08f74e6dbfcd9aa2

   Signature (PKCS#1v1.5)
YvVJAOXwpJh6zIeP5oxwicUXBYyDq4CFO5n0bEr/dlkblOPrQLX7qYSPLuKFd9SCSVUkUci3IBwH3u6SoMfbhXIc7KBGP5wH2bbxOJpbub1VgKl0vGZJDTbXvTt2owT4PGgoSCu+ZocfmPYMZwiHvPBizftgPHAG4yLBH
+QAGg77nLqoGtKm0NzOfS056145snclCwoSa79xko99zgfGJ3d9csa3bfBNWFrokaA3sBW+wKAkz80QTOZi7cYoi4hb79HavcWQwcrORogsp5TAnS8Dko19qvHIMZKe4LZ8ijx38FSXxDljvtAKzxlzPfFAu/jHWUbKFAPjzCvw3fIwSg==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: CZDYUF Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/CZDYUF-Breathable-Combed-Cotton-Striped/dp/B0BRBGTJW2/ref=sr_1_2

   Collection Date
   Fri, 21 Apr 2023 09:50:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AR5/9pREnkU0WY/XjObMpUyN7IzBzBLbfQgu0JCA2BB37+WwUttxE5iUvuFQB+LVkU9ZsR+UNemYddpJL9a0BKbZ+lBWdsAI2WFlL+c21XMWLLUqikRSpb2v1h4bvQxGJHU7AiUFrXOwLBSdFE/tIVKxJVzULyqj00eWx9rCx5c=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]CZDYUF-Breathable-Combed-Cotton-Striped[fs]dp[fs]B0BRBGTJW2[fs]ref=sr_1_2]]_Fri,-21-Apr-2023-09-50-31-GMT.pdf

   Hash (SHA256)
   57c1ed20c75d308952879c430dc44dd6a61f0fae95e0ea40d65b9a780457fe3a

   Signature (PKCS#1v1.5)
SZgJnzkvHQNdU/3ZSKvmEIaA1/1+GiNqcYHGKwbYvvjMcvvYq+o2vo0HyRn12fYCaVYB9dudDad6jEAsva7/nACnIykdaP1lB/D3NJbe2h3SMKbu6gXccjzllEZTMc7NCkuM2PBgzf6O2Om3Av6e0obV+XlG/ihW7X1Tp8JcZGo=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 01:44:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ReEYwTU2z41HqpgSSfv1MIpOHi5j5lucX599tUYUyq9K4BSm3+OS06R3nMx9H4bWNDTYO+Hxte1UpObXgrQGb03e3i4lDPWyGusScGtakzghNBeUUBt9oOsZsFOIB8AtHUbBOhfB4yNrkf2Tkada/
   TSYJnIpR7WYDfW1z7rhFjkf4qIBGqCAeGWiPXLtrpN5nusIV8yevrPwpEwWn7MLJWSIh2psUGuMc7xL40lC+k8bLWzq9aRIYEyGTh/JsTAvl/Y3QOdYtmqNuZelZy2uQ9dnqF9v0bDtv/QGDoJEyOAOfqu7jzAz5qxK9qSJ8fnuN2IFUKoWEo2zRkujFXPj6Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-01-44-53-GMT.mhtml

   Hash (SHA256)
   d81f6b92fe5a6166348f6d25bc9dc5d2a2576ce31d96de5e00135741573048ee

   Signature (PKCS#1v1.5)
EJ4P2or4WTRA9UoJH05ZA82PaHOYgApr4vYNe08OuVfiKtfJuzo3DpmlFgrbzRjb7AlPzEcF2gm341KcLSK8srkvhGGeu8S0Zw3+GbcwD586ER8xsf6RVGGywm84YbLLisu1a5AZgft7y6SZXgWADx4qEUuI2nl2Hlx97o5/CdYTh995u1GJ/f9bB51vW7N26/
PA3dK0rJUZtlVFjwyaZObHsW9+zH5x89Az4sQGkVcSOCP0nhxz62572hWe0iAwfH+ohin1wOcj2lSy/cxSUH2TBXsVK/PvcRZqXfEAJ3uiCM0wUP6EbLIGcAOwivGFUvbdRESzveeI5BDR8GQaKg==
                                                                                  Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: DuDu- Smiley face - Stethoscope Tag,Steth ID Tag,Nurse Badge : Industrial & Scientific

   URL
   https://www.amazon.com/DuDu-Smiley-face-Stethoscope-Steth/dp/B07RJVPMBP/ref=sr_1_155

   Collection Date
   Wed, 26 Apr 2023 08:34:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hVEp7pQYzIzsiGHAPYOuDIf8yRE7Kj5KMjDp2BrvvcXsBfX0IpJxefRHuTCLpAe3ZBaplQNz5PFIhc7Xjyk7GzoTjZfRX2yUo//wW69nZgjRPip4v3ktaZTIMl7wYtksMzUp1Gc3odGvwTkJFTN2ddUHLeefxuKEnbK90FzNwbQ=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]DuDu-Smiley-face-Stethoscope-Steth[fs]dp[fs]B07RJVPMBP[fs]ref=sr_1_155]]_Wed,-26-Apr-2023-08-34-11-GMT.pdf

   Hash (SHA256)
   dede994efa22b0146d6ee462a29f3271635c837c636bc67ad160bf0a9d9c98a9

   Signature (PKCS#1v1.5)
JwvYBD0IYL71h17pp2zKwJ3pD+R1NG8oNa0NlE9Nvh0ZwNJSA9gTn6U8rq0COD6Onhn++vm4Ou8pbSzrhIQhWWhoP8Ub0IwXM4uoQZedIkawRXAikdub8RO4lneOJeYyrsdp46cuU54svAvhNFwuB4bv1co0FyIZA9KoVT3IAKU=
                                                                                 Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                        Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 17:57:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   K0ztTC+FYJZU5xzGwl655oRYOWyvm2kgVy5ePu430MRvOfYUlC5fy/1JuBmJTc9+4Vm264LDr6TPyfYBxdkUuLK0jRmuk/8afc/64NkNDidwWY49sOTf6km14hl0rTgolW4oKHm73omLKHzIVTYgRf038lu8D8cBV9zzdOE7ZJB0x21QsnDgMZREBpZ/t8Olcd
   +VZRzlmqvoICSWiguxYI3tvSol7WW+Q0iupIM6N7ruhCG3170MZe2CT12o+vNmBoIR0922nj52WKl9lAHVsgM6OHwLh3E9NztSRgby90M0O8iEVTMdwg2/00LfYFaPujHuxhuZ69F0lloZzP872Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-17-57-34-GMT.mhtml

   Hash (SHA256)
   a7c06f9dc2b2fc09234f293b437e1925b0a734e2132d9884f709e1a3004c1073

   Signature (PKCS#1v1.5)
G0pHzB0NT2K742zI2sfmQ3n3X8FIN8DLoXTB4zPNRTVGYozmbBer/YRxfL9ykt2DVJ8axlbEkPHBBHMUI44lPbx1tpDO1y4GzU3Y6cU8wmsXoR6FC/RqBfygfLUCPbWlEsVuR/rRWf5fw0KUS87iK1zxZT7kUG8v9M2e0TwZ5tV1a8dPwwiCGQbKR/+mMUuGRUNT
+Z0gE6qEs6k2WiE2i2edJNgCts98QOl0eC/GhONuBq5H/uoCchz+fXvBHOaZZq5eEuHZbcTC3iDdQpo8/TyAV15/t5sJFijmyhG6NjT+H9wwCQ2in06I6KVxy2HsYm3pcWS8RstQHeG4h+7KHg==
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 10:38:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QLR1VVWDEpn3i/L+HihczDG+7ZSpntu9C6hu2FCbbH31bIkXiwNNBX9aqP6BifRmBioYVijDlLB37qlAV1o3CIKZQYcp28e8gikE0pvSvhvSLUhQeu1fLdjAIq1YY8bCtSWi4zdii0foDNs4T9K2Bj5XY+162ZK/hdZYb+3FmBMtgI9e/kGgFieoOtKcGZ6kDFBXM2i/+jGV4F8O/AgQm+x4nyZiXVVW
   +2ctvITDFGn9MaaIFwfqnzBNbu/6XXbXT0AiGiS/hUAr6JYMQSGx1cQZ+tTsRY5VpmsukoSrsJvyF99VuaIaZIfxhYAl2Jt2Z7+pUmKRqZDGBeAuToDjSQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-10-38-39-GMT.mhtml

   Hash (SHA256)
   656e4af025281108a7d2701c01f449918e2b17046a99ff646d61776004ae0da1

   Signature (PKCS#1v1.5)
ga5x27kw2CMhNAiHVSdtVwQy/HSM+QRiPDBE/KlRkkDp4oZxCbJDDI0lH+je5n+9hRLEqjhxYExcL4bfKp6nrpBFItJaYOiAVb3CC6gU2MNDU1rUz4f884wL2uuUAIgteWkhiP1rqenF0nzWyjq8l/5mogohi/J1gx+qmhK9AbtlQtDG4VCJr1vaUv8VReKbWK/lRnxgILegbTQRr54+cCpHBvII1g2r/
Ekq7EQiWXyb37maQ8xJ74/S0Q7ukOHZej58nWKCm0ZiVvNZGGl8tcLk/J4OlfCl6Q+hH+MfOnhpJc3Pkp4hjyRqU2NxQqiWRrbU+GRS1dPqSxOLMwb7qw==
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                                                          Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Compatible with iPhone 12 Case, iPhone 12 Pro Case, Black and White Smiley Face Print Thin Soft Black TPU +Tempered Mirror Material Protective Case for Apple iPhone 12/12 Pro (Smiley Face) : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0B99Y3PQ8

   Collection Date
   Tue, 30 May 2023 07:44:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ms+SU5uVmhFRGm6viD3DKrhQN6eOhMraQHCSsmNywS/XpB8BVI0VWmTD9kdnbLStNchMp0sismpaHHl4UwdXhC/6bo3M4TmC1LG61GcYRWElWCS/+3LgQEaTJDKdPX8jG4HarFNqkLoBIbTZvr5XjwBMXljofAl8Qa/NbGJUSNLdR0HkY7foeX2Umt/
   IgIlWFDu4DcPYA7gpFzaIFjsCrDyJdJHdv6J34/NFv1DSMWitXGgWhDlGB4xjrlyHo0I2TpJ8fjMgl6S8/n/5JxNULghG3zIhCeQnlkrDmkNggfP3OaE3PEdBQcuVtbGoSrE4Z8Nnqr1+h0xceUXXlf4ncQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B99Y3PQ8]]_Tue,-30-May-2023-07-44-51-GMT.mhtml

   Hash (SHA256)
   b4b938032c2bb93910ab640bc946f71846e05a06a7372be67976d532cc31d90b

   Signature (PKCS#1v1.5)
DH6P23YV5ocfLB5ybWCojmWYKJmd0DkllQVd2ZTAHdcN5ZgHDSLtJ8ZhQsJdaQCaIn6gwremg7jaY0vohrpHL9PwDFCjJDV79Gc86+kotpWVxO7hMGn3jiZ00du8rrGSkE5iFMgZBafcTbQxrHKTQyt67WYS9CdLW4ZDHd2eW7MbdjGzCkvg8mJJQE1wle4j5Be8QKQJk53qTP/
PDaWbzZch5JOGeFVaKUV78+Z5Q0k3r2UFO3aOx2D52/ysCfRnPKtnDZCRljyDLzlNuyzHLzapy/wktl62nKqgfB382K1ez2dHluNNxzEe/Gf4z9rsGYi3BI+hNAYp8QlSSobpiQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Durio Smiley Face Bucket Hat for Women Men Unisex Summer Womens Bucket Hats Packable Beach Sun Hat Black & White at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Durio-Smiley-Bucket-Unisex-Packable/dp/B09W9L12LK/ref=sr_1_138

   Collection Date
   Tue, 25 Apr 2023 11:08:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BOdBRp4LR/K0MSr1gNOckPx7tQI1GE6KPOkCM+34wOQZ5imkaBBBwVigVBL0eIAMQhCcAC810iEmrLlLI7YptqwSMVaCzzQsfUv/fqcbh8y0nF2pgysMSE+ydAstAKwR60Xa67fCoKbXWuKA7PE7B2wuFhdaj41yUhFL/n3gCOc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Durio-Smiley-Bucket-Unisex-Packable[fs]dp[fs]B09W9L12LK[fs]ref=sr_1_138]]_Tue,-25-Apr-2023-11-08-09-GMT.pdf

   Hash (SHA256)
   70b535028e524b50b71f20ad486eebfb81b8447348eae9ec12d65b4d9a53aa95

   Signature (PKCS#1v1.5)
S54sBGjbP0mYME5qGU8jKjxkKSQzKblftcY79/1eXUBK2pMBiMo1MFMpu5Eg+h7CLt/gh3dBTvDqIJO96KZoIUpM9MSK7z9s1+IVlH1M54ysBrUjamWDX26zhO+euRuiyCpgrfhOdJAmc7RoarAYltqXhChvzyHtWytIbOWgonQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 23:43:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lOY9QJFOnsJ1MryZkRxs5qWOZc3eP5TvIYZhNopE9xmCCDSn88JzzTysi9BqHa4/szp+rLWpXIyfQeVoADTENyp8obmRtq6vAQ6miqc2I8/XEFHU0gdeIQg9YNboJozvbdBMvfSN3x2j744ew8a8MXymd86AChclqmA5wNgOmvm93gcfl/ij8kiQLFD8bw4ldwHdM/vne135Otd5oFGvKDvf/
   MWAK9djz7mwEiOnzSRRgGUdvM1qHK+1lKwxJXiq+1eVPVIL6s9prZsuSvIRyhZq2BDtTkkj2CfEeqgdfVdm+1rQNJj8j24I6f6h5Shx2jMLF8uR754SA6Hdk5hI+Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-23-43-38-GMT.mhtml

   Hash (SHA256)
   df5bacbaf9875c560238339d79a7b982480c64d48bc378c0b78551efc5b3ff3b

   Signature (PKCS#1v1.5)
ke1dYImo7G+Wxh8zvTJ5UQp+u8GCqeYwKQAqitRQJFdIVtcbQnJXE8FrxhOj7LY7K4XPVtPvUYCSWm7XG+Zd4B1DaXi/b4gzSCuG3/f6qS9DTAkiVV5IS/L3CuPBMauJwb4yc4ZKEPFB2CGAetPhm/
OLYTrbX1SuXMmuiV03meX3sBqRa5O2qDJxaWXDbpv2SE9XgkVKC4LV9i6XJvSeU2AsxPxq68F3AHkek3WIU0IiUO6LB2awv26sfxhjwpX/z29YDYFvJI2DzHxx9/nm5D1TYK6yxW3BSOdUE07p6+nM+b0EqmfdyFb0vRgimoS/MIiU91O35AzFQTPPNQ9O2Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Durio Smiley Face Bucket Hat for Women Men Unisex Summer Womens Bucket Hats Packable Beach Sun Hat Black & White at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Durio-Smiley-Bucket-Unisex-Packable/dp/B09W9L12LK/ref=sr_1_138

   Collection Date
   Tue, 25 Apr 2023 11:08:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BOdBRp4LR/K0MSr1gNOckPx7tQI1GE6KPOkCM+34wOQZ5imkaBBBwVigVBL0eIAMQhCcAC810iEmrLlLI7YptqwSMVaCzzQsfUv/fqcbh8y0nF2pgysMSE+ydAstAKwR60Xa67fCoKbXWuKA7PE7B2wuFhdaj41yUhFL/n3gCOc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Durio-Smiley-Bucket-Unisex-Packable[fs]dp[fs]B09W9L12LK[fs]ref=sr_1_138]]_Tue,-25-Apr-2023-11-08-09-GMT.pdf

   Hash (SHA256)
   70b535028e524b50b71f20ad486eebfb81b8447348eae9ec12d65b4d9a53aa95

   Signature (PKCS#1v1.5)
S54sBGjbP0mYME5qGU8jKjxkKSQzKblftcY79/1eXUBK2pMBiMo1MFMpu5Eg+h7CLt/gh3dBTvDqIJO96KZoIUpM9MSK7z9s1+IVlH1M54ysBrUjamWDX26zhO+euRuiyCpgrfhOdJAmc7RoarAYltqXhChvzyHtWytIbOWgonQ=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 23:43:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lOY9QJFOnsJ1MryZkRxs5qWOZc3eP5TvIYZhNopE9xmCCDSn88JzzTysi9BqHa4/szp+rLWpXIyfQeVoADTENyp8obmRtq6vAQ6miqc2I8/XEFHU0gdeIQg9YNboJozvbdBMvfSN3x2j744ew8a8MXymd86AChclqmA5wNgOmvm93gcfl/ij8kiQLFD8bw4ldwHdM/vne135Otd5oFGvKDvf/
   MWAK9djz7mwEiOnzSRRgGUdvM1qHK+1lKwxJXiq+1eVPVIL6s9prZsuSvIRyhZq2BDtTkkj2CfEeqgdfVdm+1rQNJj8j24I6f6h5Shx2jMLF8uR754SA6Hdk5hI+Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-23-43-38-GMT.mhtml

   Hash (SHA256)
   df5bacbaf9875c560238339d79a7b982480c64d48bc378c0b78551efc5b3ff3b

   Signature (PKCS#1v1.5)
ke1dYImo7G+Wxh8zvTJ5UQp+u8GCqeYwKQAqitRQJFdIVtcbQnJXE8FrxhOj7LY7K4XPVtPvUYCSWm7XG+Zd4B1DaXi/b4gzSCuG3/f6qS9DTAkiVV5IS/L3CuPBMauJwb4yc4ZKEPFB2CGAetPhm/
OLYTrbX1SuXMmuiV03meX3sBqRa5O2qDJxaWXDbpv2SE9XgkVKC4LV9i6XJvSeU2AsxPxq68F3AHkek3WIU0IiUO6LB2awv26sfxhjwpX/z29YDYFvJI2DzHxx9/nm5D1TYK6yxW3BSOdUE07p6+nM+b0EqmfdyFb0vRgimoS/MIiU91O35AzFQTPPNQ9O2Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: DXZNBEST Women Smiley Face Matching Rings Band Open Smiling Face Rings Statement Asthetic Jewelry Adjustable Bands for Women Men 2PCS: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Statement-Vintage-Smiling-Jewelry-Adjustable/dp/B08RY32C91/ref=sr_1_58

   Collection Date
   Wed, 10 May 2023 05:21:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hhGzGFIr26pN6dKf1JRi9QEgKZHlatjBnNpfnNH4QL4fFKyZgKziqtmeL1TmBtI1G9fNDK2ckLYGG+YlocO/Ahs0gwZJ5b4ZhQE2Ze2lbqn81amJEU9gNFoY/DkL5hZmIDJSyAKtA2i63A09ylaFMqo/jc1/1CdWc042kZwVxIQ=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Statement-Vintage-Smiling-Jewelry-Adjustable[fs]dp[fs]B08RY32C91[fs]ref=sr_1_58]]_Wed,-10-May-2023-05-21-58-GMT.pdf

   Hash (SHA256)
   df8c39ae63d47bda679b08958b5437ac88e467ccfc9c28f3ce82231820f1bd44

   Signature (PKCS#1v1.5)
XqToJJc+s/oxSoJcELoOZqjLYE2lYu+9uC+vHGYzNw+bK85uKenW2KpX4OIjnN8dtC78R1hUAmnMN3PKYjV+tRpYz1/W3qxhwWj30MGpz3UjnLrf03elnFMmiNzhM8s8wz+YzX5Y9tqY1/NfMFqnx+rCJug0HzCK7RVQJqwqnkc=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 07:22:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bca1vt7MaPNvqk1cxQ5mCU4WuGiZWrOoZ8vcM09pWmZT3veYH0HzQaplxGt5ECd2/X/vuNzj4wMWTom629IoHXyO4GA2Y6tOn7GKe+bTitnmA9NkuokCWL1ZKuUgEfH/
   AtL0WqkckJbwNnRV8IfpVrIm8K7cCEi7+qlsCG11fQ4OvBE1K8qNprlR9RVTyJ7+WKm1ajhrJvdfykQhANhw0kZMEvhP1IzAlLi1i6uirXqRkYxn8iDW5w0dO2ShEIVHYBMaa/cRo88j0/ZbKI6bPjLrgaLsUh26pHXES3XYpVGhilO5CEFyZ4Yc0cBrmtdMBX78AP8acXVjf9fxCBftpw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-07-22-14-GMT.mhtml

   Hash (SHA256)
   f0c126b35350abefc1ead5eaa5285f1df74dd827e57d313cb3d046d38444c83f

   Signature (PKCS#1v1.5)
NQDW/fXtxF+ZmCvX0uvyZOfjYGbwoibhHjopy5vH3FyNjuIJ/tawOkN8quZTTzE0RhKFz5UITAVioTUiw5XcCSRCPmTWkOQkUJ8QrAg4urKuFpOwtN5NrjH+xA6EBWu9yOtCJKDEQYFafA8+3GWCZWcpgWp17b+7J73yIuBoiQr+orkSjBj0JEREeJ+RFyQ7sdvsahQIjfdySVN8nhUNSJp135JOXA
+ZW8dBBM3RmG6sMIYR978v64bApQRd/znUernKVZe5eBCcl6hVCgskH5lNGrs+yEaflug1ck+5cCiuUX9r6RP5fwJJEM59xPg9cu7QjtSM9QmCZrjC5McESA==
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                    Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Dzrige 4D Smiley Face Foil Mylar Balloons Smiley Hat Birthday Party Balloons Wedding Anniversary Dessert Theme Party Favors Decorations (Pack of 2) : Toys & Games

   URL
   https://www.amazon.com/Dzrige-Balloons-Birthday-Anniversary-Decorations/dp/B09G9FC6VS/ref=sr_1_187

   Collection Date
   Tue, 09 May 2023 10:44:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gi9RRcFS/c4iL4RYBjRJqT0xQVIm+iRP5LD40jr0MA/RAT0TWq8XZVwKccnKD74RJGHGLrinpLxpBKSGKLhxPJxZZRiboEb45JaFzerthN+UQ21XfCijiGeygWfyCBuOnQA9uypqIZqJiGSm53sg3PSgNE/FRw4bL4UhnPE4fPg=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Dzrige-Balloons-Birthday-Anniversary-Decorations[fs]dp[fs]B09G9FC6VS[fs]ref=sr_1_187]]_Tue,-09-May-2023-10-44-01-GMT.pdf

   Hash (SHA256)
   3432fe2924881c75357a6bc95f7268065f7389dcd29045fb501d1840b464936e

   Signature (PKCS#1v1.5)
fIFeCuBCxol2qncm6oWinpy65EgWgV9sq+wSAdzWItQn8Oiwz12C9hlakPlXzpVkQppqWGZi/+E/WBSnYC4PyYlgUADW+hkfmJD2iQazlThAm/xQA7Fw5L0I73meMuwOhSVBJRWEMYroicu+XEooEbIzgRJmSznQvB6Hjm3l9yk=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 01:24:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nq08AYVYuG1q8IemSjJl/6U1LVXBt/z0o3DCgBYO0jilj56cEHbMHDZ7spn80NwO1hkXE7b2YKeoZh7FgeCh9OrxRbaP2WHM2N8rotKnUpp30zoV8gP1tCCP70XOY7y4B7yxLdn1RHjf4UV9ELUAGt8v66XHPrqNf8RYYmfLCN7XNGBIZpXZ2e841OF3IzvOYVGTQZg2KVSGDmEARKw0meks+
   +nGusGVznr6d14CslS3bgSwpoAd/+mJzQwAYrX89kkMQLyk1vbIv2EzKO8z381GrV+vTkzuML4lneN1IX9N3NXUgPyFRGUSwDrbcfK0T+xjUGKGLfJO3kZeAEj0Sg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-01-24-59-GMT.mhtml

   Hash (SHA256)
   c076dcc36a4f3005aac93c8dbc776c80ca442b781bd36ee9a8fe2128f855cc86

   Signature (PKCS#1v1.5)
D0CnPVLFekOSUCJvpnYnu/u6KscrqkHOuxBi3T656IYz44FMLCbz1XXlKHbCwG1IGBmRXG3QcF52k1LSkgeL1YuLXIqLYJCyQClT5SLOhKOM0kBmcvZdzi/yn1eRkllzoP1+t/GQSZsOZJNyRJT46DQDMdIhQn84pEX29v+vCQwrFUd7T7QVzpqPhGEvvkYa+Hf6RtzCBXhCupoCgw0pryU65ALZ
+3k0lCEINv3hNmgwWBiWuTg3zGqs318xTdGOJmV1Y8ZIfcf3MhlOJM613onZhLwBU/o3XHXQ+YwMiCeCCc2i03dm5q3kubnBkcXPEdBFg6QvbKhVirejSdpg9A==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: LOQUPE Case Compatible with iPhone 13 pro 6.1 Inch 2021, Clear Sunflower Smiley Pattern Soft & Flexible TPU Shockproof Women Girls Phone Cover Sunflower Smiley Pattern Bumper Protective Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/LOQUPE-Compatible-Sunflower-Shockproof-Protective/dp/B0B4JBWZDW/ref=sr_1_203

   Collection Date
   Mon, 24 Apr 2023 11:35:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KbJh7can1fbsfqH8JCa5gGAMWkGxMi+7sv+G13HtuNsHOqK1AKNzVODdRJrfVtyNgcLz4t5cCaAldd2uEl5ndz2zKBKBSYfCSzL0Xx7XuErtrZRYu2JTPmLoa/Cy0xyFKUYWuGiEOIRwNAX3OtYrQeS4X7iatuBxEW20rzfu2Ec=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LOQUPE-Compatible-Sunflower-Shockproof-Protective[fs]dp[fs]B0B4JBWZDW[fs]ref=sr_1_203]]_Mon,-24-Apr-2023-11-35-18-GMT.pdf

   Hash (SHA256)
   784f900e925cf318e4b3b4e8a981ebc46705191152b2bb63c7a1382c7d1a6375

   Signature (PKCS#1v1.5)
XSHaiXmOy78Ns1en+ewAB+YuYbZO4EGtkVFn0EVf3gcjUy2FS9T1q/gr7f02Sut47asw6AkCKfi3WTxm+uM26elhfvzPQo9GnHpD64wQiupK20wvzPoXwq7NMPoiN0ukoSVq5JlYc8Sky0XdY8p3e8A0+7D3yP/pdkGmW2Hi8bA=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 00:47:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   i6GMhoppc9yaeavNwxlIqkPewB91OSx2Y1j2/apNaSTsGD7e4wH0XmjDR5KBlFHwWrTNhs+oa5HCvBGDFsWLMS46tjqCZlN38OGyDmKGcAps8qITAgLugSGmPxn4apQRacxdSZ/KGiQ9bOcUXgMK+S7xUXQEkD+mbW9L1CoQ9VmAft9rU5BeD7+8XBNKwx/2CMJo0/
   CmRtkWsuMBZyGOZnDXhbUaPsywfmJKXNBVT9iJ6D8aKIwpD5ZQzVHiNVGB3+hYFMAg15p+iLs57yRJkWxGHnBONqepaDoIgMT7T3hZnTCEihvW78B6O03NNFriEw9HqG2G04xvJkJ+dvPGKw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-00-47-18-GMT.mhtml

   Hash (SHA256)
   16f2875c4f1672ffa0d993518719647497afc223cadfcbf4409f0ae56efc962b

   Signature (PKCS#1v1.5)
PVeZHqyIdsUYsjesFhPTiurvuvjd69tUm/jebX+qpYo9xamq21R1++vwoNqlTBdK2aS1dtd5zceAzx3GvEhb8w5uscCMwaK/FLy5XxtHqRcF05H2B2YMXeQbF6zrWOCJEoQKCJScudWeFUvU29u/
HOEAxKYxvPXxoN1+70099dtUTP0regrDVsYrVOQXk7NUA6UWg2JVdof744+dSYwohfxJznYEns3OywBn7Jmgs9s46ib0i2LLV1qgLtg4BY3vHLAeKCbMwXZZqcjHR6ezv2ttjcRvAs4RyaXVSWPy2g3aVyxHcGWaNSLDMGogT8p7bbC7EsTLvui4idbFnr9DQw==
                                                                                   Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                   Evidence Collection Report
   Page Title
   Amazon.com - Pink Lightning Bolt Smiley Face Car Bumper Vinyl Sticker Decal -

   URL
   https://www.amazon.com/Lightning-Smiley-Bumper-Vinyl-Sticker/dp/B09ZL4915X/ref=sr_1_71

   Collection Date
   Wed, 14 Jun 2023 09:22:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fMR7WFOqj5BDJRNaRyGVknHfaZf90aMvSSi12htVpnFYE/x/dLXKKLwzBa8cnE/LIPaoCFQZa5ySTu1CkxWw4GFfGmTcgJ0QDsjcF/lzU+ZFVTdmDRkdTricwHm8Di5g6FKpHCpYZSm3UzxFEMGWdiDik0BujTSq+MZIvmS87bE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Lightning-Smiley-Bumper-Vinyl-Sticker[fs]dp[fs]B09ZL4915X[fs]ref=sr_1_71]]_Wed,-14-Jun-2023-09-22-01-GMT.pdf

   Hash (SHA256)
   00e8d8f8e99693342769e68d52f009a547bb5257175a7237b1ea571a1d813d2d

   Signature (PKCS#1v1.5)
a3l7wehkACIv6fVMimUDBdMNkgrcl+XSKCV2RJYm9tWn2wJapOH25UOeigwdzu58UKPu9QzIbIL8CkwqMyiAeO9WHLrRM+nAyV19D+7runbUSwYdgTjd3YdCOs0EUvzh/s1aVGtakrdUIT9Ucn5/dWoTghcDddlbejrr8Nm58TM=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 15:53:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AHWhi7u2n4syXS0mUmLCRi0P6ZuvZw8yACY4C/WU7qCzTgJJpYNbeuvocca+fGW7Lypjxv5S5L+ySuTPRqCCaqlg7qOsU+mdY4+UFM/FhFTiI1RVXsj1K4N97kMoNecbSVvU6NXO7fFTVxDnhE1gTuWsWdX4jEYfWSRC0UUTBQAJxbPf5jmu
   +t4ivwrBWxGDHCq3h1wPCKJmhAgUVMVh27j6ZJ0O8JgCRjoyHEh/K4GkF15xsbYhqQKANFg20OBHI/5koptZaJ9se7qjBFqoj5gbLDUFRVgOv2R90vnuqizku2PkXwPF256HZvycQYN3lkgWLimteaDUm3qP9YsvRA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-15-53-03-GMT.mhtml

   Hash (SHA256)
   b33beb1b607c75c5d959c31ca25558148d2d4625da6093f9c77c1c7af395d3c4

   Signature (PKCS#1v1.5)
mDH7hMSNLhdnscAdG6vvWy6xEcmk+aT1qqh00mv31fRoeWKN1z/pObNnFv+ueHDy225YixdPiDAc+HGsRo+nNUUkXX0CjUFJZzDXL/
OuxZcQ0+xvAzlP8X5W9jmrwGmK3nX70uGCFKEddyhUQrDopjgl9ran4apmmmjW4m7Uymq18zmHHyc4BVK2MDlXXeiTgN6dsh5Wvi8GyNXCqHMIyrhdWmUQnmx27BXZP7ZdfH6/RoC6zsicJvgbtuwj34VljwPjuE8NSsk1J18G9k0PTtjBi3iotL05saTtUWO7ujIk8it/
vI3AAD8Y5LWS8nZkBalfuJomArrPtUN6NMsz2Q==
                                                                                 Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Winter Slouchy Beanie Hats Women Men Knit Smiley Face Hat Warm Cool Stocking Cap for Ski, Hiking,Fishing,Daily (White), 7 1/2 at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/Winter-Slouchy-Beanie-Stocking-Fishing/dp/B09LRD2391/ref=sr_1_296

   Collection Date
   Wed, 26 Apr 2023 04:15:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   isbX4V5WYzeCm5JtQwFrPnUCFMEgXiompB9QTJQPHyGOwXKQ5uBoTXB3QpaLS04pfrS0s4zRbTV3GpbZiqz68axCL4DlRBSo5JcJ9pB3CgwT9M9QbCJ2aFHhMBYngPOwe7lzcOlKdwjVFV1z0I/WGkjyuMy/r9bTMsnwfi7OF6s=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Winter-Slouchy-Beanie-Stocking-Fishing[fs]dp[fs]B09LRD2391[fs]ref=sr_1_296]]_Wed,-26-Apr-2023-04-15-30-GMT.pdf

   Hash (SHA256)
   949628b123313cca5ba752ffc562af434edcb6ba4be78b53cd3cf0bf4ebcd81d

   Signature (PKCS#1v1.5)
XjQOyfr9IKz4R5TSbMHVpJc/SnAPFWJCdo+iO2Lgo5lJoDs43fG9/hlGcWFuAaj9AkP7HuNyA+LdsGgfajv7TFlk8mWrxbyviVsBiSEmvxGZ4wJv0Ac8L+pfSmOC7MQN1t8UXWs9iAPWAYUbxFRcs9BINql9BMJMlz+uoMiGES0=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 06:35:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DIPeNY/z7XZN5HsS7bqbF8/MWROQnJzAz/8dvT+YLsHHl5ptQ0hA7qn1wNOHap/jpLlg8AYyWmV1/t1nVQaBFPoFq/JEEJE47wZP1Fk57lOHKrkZ2h5oqcc0W0gEKOAUz/Th7uj6mEPJ3BPGivVdDykHOJiwQlg/SrDpcsTKMCfm06i+d+3F9bTrGbrt4R97/VHmmn1my5Tovp2zAIy/
   RYtunmyjcuYKIXPDrbdglrz2HxD5HIJ3rR6nxUhGX/QnW+gqb8GGnoSpUV1S2xwNGkabQk57fPRH8YsIenqSs9zeHZCVvMxvH1fIHuTlq2qbS/yRKK5rufO6nSrAiRvyjw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-06-35-24-GMT.mhtml

   Hash (SHA256)
   2ee0db5a5f1c866e4d2ca87314e61efc29ea4dc88024c9181636ec7f9222831b

   Signature (PKCS#1v1.5)
dBetbZAg6xM5TlmUlmF2lMoQNBRtTfloj0xeQspfYqXyO5qvUk2uG/h+BWtkub3RSCl71IXJ0UZDbiRecP2XhvgbeOkdODoirSQQ7Edtu7fe38oyeqiftZ
+E9lIV8gnqL1BgiXhesGkkkrCpkYnLleHQTGIWemR4qLlRhuTuVfIm2QZ1c2+TOCAPXHj5hrOyomxt2vdWOdAH2LGbRXKFAoE46WIgfrddc7oRCxZ8gA3NHIonLMCyWmD7ilCI77C1I7abYCG9e9Ys6gtxM8SNEEOERU70x18RQJalTWRWQ56w2+uKIfQ9T7+L+wiB2JAwkdmfk46WskZASC/
nxwvNAQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: EmbTao Glow in Dark Evil Smiley Smile Face ISAF US Army Milspec Swat Embroidered Iron On Sew On Patch

   URL
   https://www.amazon.com/EmbTao-Smiley-Smile-Milspec-Embroidered/dp/B01IT2DGSS/ref=sr_1_95

   Collection Date
   Wed, 26 Apr 2023 07:39:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HJElYt3hzqGurxo/pZ2n05om1vBXmj4dcVEy8Fz0pQ0AtM+vbTZI9nZ10Z3G9QqCWJ1yH7awULCaawIm0/WXGigKjmIolF6Adbl92BPOtiP7D7sdw4INmrEzvS4L33ijvh/XQSusx4tnaoIq6RYTQmBzCRFB+WmJk8Rbpt6F5p8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]EmbTao-Smiley-Smile-Milspec-Embroidered[fs]dp[fs]B01IT2DGSS[fs]ref=sr_1_95]]_Wed,-26-Apr-2023-07-39-43-GMT.pdf

   Hash (SHA256)
   54f5ea2d504e8f2dbe6a1f137dbeafe52143012db9cbe112be192f15cc1216b8

   Signature (PKCS#1v1.5)
oXHu8ioQLPOXvULueARXzkm/bzduC1+n//PR7wSI01YwJgeZgNyMu3V49LoI5LC8Ol14hCcNFU5EIGvGzxvIHqesdru0VPtccLkOIBH9cxHwYCKDoGz5lWIegH4+wt9zc7be2l4Ei3EdjorUUuNsnsst4pVk1/Da0zxoikcCGm8=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 11:40:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fYovTZDzzSkTsLLLuHC+3eSI9UXSg4VJz+sqcafDlvPXlE+aEqq8xPBk1McxdJxfQt/51XyBhuhst18AASVixh7Wg5NTWSKvOhNbZDB6KV5Oo5EDwAPHwtU9rHUw6J6WMKwrbSz74B9mJ69ydDP+D6SnRiYdVPs5IiMZBTSdQgIuuoOTsVK7zAWzYZo6KwMAWpikVog6W635/
   lHlFiG4ZVbcRenShHZLBW/tesCG0Egnx9APmVmF/n6ZVW1UqSj9ZkFrsqnoVFe49VuZCC0Ug5RXA3FxgWnbtFpJ6kefKrWgGzvr5BOrYeOkZpeTQBH54fif2WyeZA8KVmdsqxjsQQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-11-40-01-GMT.mhtml

   Hash (SHA256)
   40165a851dc1e7b381035e0c3a6f8f877c44e890c10e656d38b16571762df333

   Signature (PKCS#1v1.5)
Xr7udC+SCYVcOKvYq0BvjqiAcYXBFn8oOkhxj/VIbYJZwUXVHI+iqNBNpGAOfnGhfKZImuIyCak2ajHzdFuL+z217Ymrnv3iI5/VDKy4M75bZlaWeki7oE2zrY5x9daH4MlbMGuyHxN98GNbvebSus+CfIV3jbqgJ7oqvz7B8YzSeSbiNttMkyhmqNpluztotRkhyP2I+rAeKl3CwsRRBQa2i5iXN
+Xlp8fcKzFjpSFNAAJaVMx2ECgv07RRGtDdYuM9Q4XKciyqI1iWqC78xe+hi/+jfgmxRJXAKWaX1hG5H9I1SdzFpeLFuX8Hay5tneTLT2/VP5n63gn7epIsQg==
                                                                               Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: CHIARA CONTI11 Love Like Jesus Hoodie, Smiley Face Sweatshirt, Custom Hoodie, Happy Hoodie, Jesus Shirt, Aesthetic Hoodies 2 : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/CHIARA-CONTI11-Sweatshirt-Aesthetic-Hoodies/dp/B0BY2JKDGK/ref=sr_1_98_sspa

   Collection Date
   Wed, 26 Apr 2023 06:18:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kvK7StgAahLr7AJTd9kgGogDRubH32sHIhzBjFFYdFeeWLgkkuwK7j9vUQj9C4J9CawUYYj9sPYCoycX45fGaSTQBJ/gCjwr5gI7/ivtfZbTBjRHa0yQF3QgPni3Jj0ghr7qTxaN5Tp9XvRwrayy4NrG7QlmdKdfKjN/SLW6I4s=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]CHIARA-CONTI11-Sweatshirt-Aesthetic-Hoodies[fs]dp[fs]B0BY2JKDGK[fs]ref=sr_1_98_sspa]]_Wed,-26-Apr-2023-06-18-37-GMT.pdf

   Hash (SHA256)
   2612523e23bc61d338c8cece1ebad245a6afc84a786d9197de11483e66bf924d

   Signature (PKCS#1v1.5)
NG4tMEWkRPUxOlg3Eawd/NMzUuKSDFNMKaLacZj4ESe/NTgSgj6ZjccEul/Cg4oOGuGH+d/hF9UHnT+dDHFR606vMwqHINCP2fPIRzNiMkVXJ2robCS/gAA6/F5cKWwI9lctFizGbMiGfkaPJp34RCM8912mF+4qBbkGQL+5TRc=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 12:00:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HpKalKOh+o/bqo7cCI8hTa/79bQp5hSdl/BWE7MIgSKpu1mSSttNWqPxY1gDYQDHGWOdVoXv+vQI0fnHnTPL+vmMsVmb0Minl+jGhSMZfQxDNGQr07ldLVpJtD1cfqozLtZax1eM8nXsPhfo1KrBcAEfn77QOWTkqEVV+dhWFEtCb4ikMWcm//KX0G35sDx3LSCPEjJZEpYSGSTgLs
   +Llb4L5YAG7NW67thaOTTyP/XheAAezk2LaiMiRxi+VUgnqpK8pr/46p2LOgsBmXZBtevfCsiBhXYUXFFCSdO1GCm+KJc9mod4GjUmAl+4Ao86AIbhsqmyBNhw7ecRdzeBEQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-12-00-49-GMT.mhtml

   Hash (SHA256)
   d04b6184fd8dbdbb52400ddd54c8aacd13b7179b5a137c6b958a1f128a61107c

   Signature (PKCS#1v1.5)
TWCCleracHvRADY+2HH9uFL2lW4biFGLvlZB594MyM7iu64acVat5jip36mCbmy3oBO4ZcYfP3baL8AbyBAM38reTanL5/d0E4/PM97cPZ/Z8VStsX0phYtnbOEQ1etFo/yiEDDv3l/5kW3ui9NSsZ+wNMwvWpqzK+lkDXiT9B6PXiihxsFf47GGXBUtNY5Rq6WZ/WqeJoYV/
Cp7kMR4vtXcTYEmmtm7KyS45i2G6zaJ17yRyt4pyFynPTz4+oTMZvnC7nki97VxzbsZmaV0fTB836Z1hZFwJkke08iljQ4ZwjL+sOWvUJhVKoxlV7xKnUpEQx0TY1nwOS70Bxk6xg==
                                                                                  Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: 12 Thousand Pieces Smiley Face Stickers, BetterJonny Happy Face Stickers Smile Face Stickers for Kids, 10 Colors, 3/8 Inch in Diameter Kids Student Planner for Kindergarten or Early Learning : Office Products

   URL
   https://www.amazon.com/Thousand-Stickers-BetterJonny-Diameter-Kindergarten/dp/B0BX2CKHSK/ref=sr_1_53

   Collection Date
   Tue, 25 Apr 2023 08:12:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QQ3AQRj0nJtAw5GxSuYUTJ2c1pHRk8OOr9uney4mOqNpc5j/wHW039XbkUiq6e5aUzKk1TbFkIanNAMG2B0FvEbGIy6H9Z1kAewSvmrIbfE6RyWAuZ9wn2lYhMXUTOgwZKBWoiUuhZgI3vzwzZfs8daukBfSrk++EfNhyPSHmh0=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Thousand-Stickers-BetterJonny-Diameter-Kindergarten[fs]dp[fs]B0BX2CKHSK[fs]ref=sr_1_53]]_Tue,-25-Apr-2023-08-12-39-GMT.pdf

   Hash (SHA256)
   d1d0d41883d0699b98eba062127484109e05a398e994e5a21389385f50aafef6

   Signature (PKCS#1v1.5)
rwADM2BilQXoT3bonCOVW+Wcl24H1y0V/cWDn8E5MKZxB2T1gFmeXlbpHIQrtGTLBrjRRIEFbo6x8gMM5vxmhyMH7pb6t/rChoF2oL2oU6yIP0goNFTQE1ztoJkColQRx8D0PIRuEA9mcpf5hyVngtWxaTkcYIF4Xax/bLcw4sc=
                                                                                Case 0:23-cv-61203-AHS Document 35-5 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                     Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 15:02:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lqvFns/GRI2NIznnuG1thuXq6sW88VQWXYllaxQD/amSG4aFkXL1pysuxDy4J6N8fYHH3MdsBwaOGujo0cA6hgYmr7wCzSynnM5EEMXxBtkl5dJ6LakH5wMrQqqIR8zuA20IpaWzUv9TQFaVReDlwOTIeznhCQ7/RLywxFrscm+ksAa
   +7J0JLgD6WlfNKsI4FHL1sW1QXyccK4a7WaGsftT2giXSz8WuWkSzKI8CIh7Xe/3/aAhFE8akEsJrECVQqgWjYSyc2CKIgib1UHK6HTVoKG80HJLuHqqvy8Qm0VeQfyIdCPxlwwvIhL3ulQI/n1vcvIE+03ocYVQoaa1WfQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-15-02-53-GMT.mhtml

   Hash (SHA256)
   c7b76a6bac135f6d3111f4490b0c71bc181c9896253dc9b7b91f4426f87d01fe

   Signature (PKCS#1v1.5)
BWXoqx+oIM818sYlXUhWkj74mbWgw9l8EVMPdU7nJudBNV7CvR1sJbBDwPCuF65sPr09f3rFm96jxw2l7m4ZLHORD37noKRNykhlrov/r5g+eJI+OUqhqWrnmjqSlijuJ6HKz/jAAWYmdkynQfje9/
ICHftQHJMxTk4xf9VvicR019sUNlCaAPKEkVLUAkHRDfMO//70EXyF1DpYS6N50PUVqwEpdWRkMQnDleRb73AOAYTNRmg5Z0HTAdbPpxwIYHwb+E+7yYk15inBJGYK1BWj2fipYsmg2zzKRXjc9BFzgmiaKaDIgedIE94HwNpBxhzKn5hBQwNVfGfPO7rvlw==
